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4
     Attorney for Defendant
5    BROOK MURPHY
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9                                         UNITED STATES DISTRICT COURT
10                                    EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,                         No. 2:15-CR-0234-JAM

13                           Plaintiff,                STIPULATION AND ORDER

14             v.
                                                       Sentencing:
15   BROOK MURPHY,                                     Date: April 11, 2017
                                                       Time: 9:15 a.m.
16                           Defendant.                Hon. John A. Mendez

17
18             Defendant, BROOK MURPHY, by and through his attorney, John Balazs, and plaintiff,
19   UNITED STATES OF AMERICA, by and through its counsel, Assistant U.S. Attorney Jason
20   Hitt, hereby stipulate to extend the sentencing schedule as follows:

21
               Sentencing:
22
               Draft PSR disclosed to counsel:                     February 28, 2017
23
24             Informal objections to Draft PSR due:               March 14, 2017

25
               Final PSR due:                                      March 21, 2017
26
               Motion for Correction of PSR                        March 28, 2017
27
28             Reply or Statement                                  April 4, 2017

     Stipulation and Order                               1
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1              Judgment and Sentencing Date                        April 11, 2017

2
               This request is made because the defendant needs additional time for the presentence
3    interview and for preparation for sentencing.
4    Dated: December 23, 2016                        Dated: December 23, 2016
5
6    PHILLIP A. TALBERT
     United States Attorney
7
8     /s/ Jason Hitt                                  /s/John Balazs
     JASON HITT                                      JOHN BALAZS
9    Assistant U.S. Attorney

10   Attorney for Plaintiff                          Attorney for Defendant
     UNITED STATES OF AMERICA                        BROOK MURPHY
11
12                                                 ORDER
13             IT IS SO ORDERED.
14   Dated: December 23, 2016
15
                                            /s/ JOHN A. MENDEZ
16                                          HON. JOHN A. MENDEZ
                                            United States District Judge
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     Stipulation and Order                              2
